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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF LOUISIANA


 DOROTHY NAIRNE, et al.,

                        Plaintiffs,

                        v.
                                                          Case No. 3:22-cv-178-SDD-SDJ
 R. KYLE ARDOIN, in his official capacity as
 Secretary of State of Louisiana,

                        Defendant.


                     UNITED STATES’ NOTICE OF INTERVENTION
                          PURSUANT TO 28 U.S.C. § 2403(a)

       Pursuant to 28 U.S.C. § 2403(a) and in response to Defendant and Intervenor-Defendants’

Notice of Constitutional Question, ECF No. 178, the United States hereby respectfully notifies the

Court that it exercises its right to intervene in this proceeding to defend the constitutionality of

Section 2 of the Voting Rights Act, 52 U.S.C. § 10301. Unless otherwise directed by the Court,

the United States will submit a brief addressing Defendant and Defendant-Intervenors’

constitutional arguments by December 19, 2023.
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Date: December 7, 2023

                                         Respectfully submitted,



RONALD C. GATHE, JR.                     KRISTEN CLARKE
United States Attorney                   Assistant Attorney General
Middle District of Louisiana             Civil Rights Division



/s/ Justin A. Jack                       /s/ Daniel J. Freeman
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                                   CERTIFICATE OF SERVICE

          I hereby certify that on December 7, 2023, I electronically filed the foregoing with the clerk

of the court using the CM/ECF system, which will send notification of this filing to counsel of

record.

                                                         /s/ Justin A. Jack
                                                         Justin A. Jack, LBN 36508
                                                         Assistant United States Attorney




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